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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: CASE NUMBER 2:10-cv-08888-CJB-SS

Oil Spill by the Oil Rig “Deepwater Horizon”
SHORT-FORM JOINDERS

ORDER

Considering the foregoing,

IT IS HEREBY ORDERED that Victor J. Versaggi and the law firm Domengeaux Wright Roy &
Edwards and Charles R. Minyard be substituted as counsel of record for Sean R. Dawson and the Law firm
Vezina and Gattuso, LLC in the above captioned case for Dufrene Building Materials, Inc.

New Orleans, Louisiana, this day of , 2012.

JUDGE
